            Case: 12-1738        Document: 60-1        Filed: 05/09/2013      Page: 1

                                  Nos. 12-1128/1584/1585/1738

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                                                                       FILED
                                                                                   May 09, 2013
AMERICAN UNIVERSITY OF ANTIGUA COLLEGE OF MEDICINE,                         ) DEBORAH S. HUNT, Clerk
                                                                            )
       Plaintiff-Appellee,                                                  )
                                                                            )
v.                                                                          )
                                                                            )      ORDER
STEVEN WOODWARD,                                                            )
                                                                            )
       Defendant-Appellant.                                                 )
                                                                            )
                                                                            )


                                                                   *
       BEFORE:         CLAY and ROGERS, Circuit Judges; and GRAHAM, District Judge.



       The court having received a petition for rehearing en banc, and the petition having been

circulated not only to the original panel members but also to all other active judges of this court,

and no judge of this court having requested a vote on the suggestion for rehearing en banc, the

petition for rehearing has been referred to the original panel.

       The panel has further reviewed the petition for rehearing and concludes that the issues

raised in the petition were fully considered upon the original submission and decision of the cases.

Accordingly, the petition is denied.


                                        ENTERED BY ORDER OF THE COURT




                                                    Deborah S. Hunt, Clerk




       *
         Hon. James L. Graham, Senior United States District Judge for the Southern District of
Ohio, sitting by designation.
